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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                   )
 and GENEVANT SCIENCES GMBH,                     )
                                                 )
                          Plaintiffs,            )
                                                 )
                v.                               ) C.A. No. 22-252 (MSG)
                                                 )
 MODERNA, INC. and MODERNATX, INC.               )
                                                 )
                          Defendants.            )

                     STIPULATION AND ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the time for the Parties to submit a proposed Protective Order shall be extended

from April 14, 2023 to April 19, 2023.

SHAW KELLER LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Nathan R. Hoeschen                            /s/ Travis J. Murray
_____________________________________
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                SO ORDERED this 14th day of April 2023.

                                                     /s/ Mitchell S. Goldberg
                                             UNITED STATES DISTRICT JUDGE
